
660 S.E.2d 537 (2008)
STATE of North Carolina
v.
Kaher Maruf MUHAMMAD.
No. 547A07.
Supreme Court of North Carolina.
March 6, 2008.
Daniel R. Pollitt, Assistant Appellate Defender, for Muhammad.
Diane A. Reeves, Special Deputy Attorney General, Seth Edwards, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 651 S.E.2d 569.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 14th day of November 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 6th day of March 2008."
